Case: 4:24-cv-01447-CDP      Doc. #: 47    Filed: 05/28/25    Page: 1 of 3 PageID #: 695




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


TIA HICKS,                                  )
Individually and for Others Similarly       )
Situated,                                   )
                                            )
            Plaintiff,                      )
                                            )
      vs.                                   )         Case No. 4:24 CV 1447 CDP
                                            )
SSM HEALTHCARE CORP.,                       )
                                            )
            Defendant.                      )

                          MEMORANDUM AND ORDER

      Plaintiff Tia Hicks is a registered nurse who sues SSM Healthcare Corp.

under the Fair Labor Standards Act, 29 U.S.C. § 207(a), § 216(b). Her complaint

seeks to bring a collective action on behalf herself and others similarly situated,

alleging that they were wrongfully classified as independent contractors and so

were not paid time-and-a-half for work over 40 hours per week. She alleges a

class of patient care providers “who worked for SSM Health Care Corporation

(“SSM”) through the CareRev platform …” Several members of the putative class

have filed notices of consent to join as plaintiffs, but Hicks is the only plaintiff

named in the complaint. Pending are plaintiff’s motion for conditional

certification as a collective action and defendant’s motion to compel arbitration.
Case: 4:24-cv-01447-CDP          Doc. #: 47   Filed: 05/28/25   Page: 2 of 3 PageID #: 696




         Defendant’s motion to compel arbitration is based on arbitration agreements

contained the putative plaintiffs’ contracts with CareRev,1 and defendant argues

that Hicks and the others were not employees of SSM Health Care. CareRev is

not named as a defendant. Plaintiff’s brief in opposition to the arbitration motion

indicates that Hicks has agreed to proceed with her claim in arbitration. ECF 45 at

2. Her brief states that “Plaintiffs anticipate filing an amended complaint to

replace Hicks as a named plaintiff.” ECF 45 at 2. Although that response was

filed on March 31, 2025, plaintiff has not sought leave to file an amended

complaint.

         The Court cannot proceed to rule on the motions as currently presented

given the procedural posture of this case. The parties are essentially asking me to

rule on motions directed to a hypothetical lawsuit. They admit that the only named

plaintiff does not wish to proceed with this lawsuit. Although additional opt-in

plaintiffs have filed consents to join this case, there are no factual allegations in the

complaint respecting these opt-in plaintiffs. The Court cannot determine whether

to compel arbitration or to conditionally certify a collective action without a

complaint that alleges an actual plaintiff who is actually bringing the case, factual

allegations for the claim brought by that plaintiff or plaintiffs, their employment,

what contracts they may or may not have signed, and with whom.


1
    CareRev is not named as a defendant.
                                              2
Case: 4:24-cv-01447-CDP       Doc. #: 47    Filed: 05/28/25   Page: 3 of 3 PageID #: 697




        Accordingly,

        IT IS HEREBY ORDERED that any motion to amend the complaint must

be filed Local Rule 4.07 by no later than June 11, 2025. Any opposition must be

filed no later than June 25, 2025. Any reply brief must be filed by noon on July 2,

2025.

        Failure to file a motion for leave to amend will result in this lawsuit being

dismissed without prejudice as moot.




                                           CATHERINE D. PERRY
                                           UNITED STATES DISTRICT JUDGE

Dated this 28th day of May, 2025.




                                            3
